              Case 8-19-73137-reg              Doc 22   Filed 05/02/19     Entered 05/02/19 14:44:50


Information to identify the case:
Debtor
                Atlantic 111st LLC                                       EIN 27−3462063
                Name


United States Bankruptcy Court Eastern District of New York
                                                                         Date case filed for chapter 11 4/18/19
Case number: 8−19−73137−reg



            NOTICE TO DEBTOR(S), CREDITOR(S) AND INTERESTED PARTIES


NOTICE IS HEREBY GIVEN THAT:

Pursuant to an order dated April 30, 2019 this case has been Reassign from Judge Nancy Hershey Lord to Judge
Robert E. Grossman.

Notice is further given that the meeting of creditors previously scheduled for May 24, 2019 has been rescheduled for
June 7, 2019 at 11:00 AM at the following location: Office of the United States Trustee, Long Island Federal
Courthouse, 560 Federal Plaza − Room 562, Central Islip, NY 11722.



Dated: May 2, 2019

                                                               For the Court, Robert A. Gavin, Jr., Clerk of Court




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